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                            UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                       ORLANDO DIVISION

 HINES INTERESTS LIMITED PARTNERSHIP,
 URBAN OAKS BUILDERS, LLC, 1662
 MULTIFAMILY LLC, HINES 1662
 MULTIFAMILY, LLC, HINES INVESTMENT
 MANAGEMENT HOLDINGS LIMITED
 PARTNERSHIP, HIMH GP, LLC, HINES REAL
 ESTATE HOLDINGS LIMITED PARTNERSHIP
 and JCH INVESTMENTS, INC.,

                       Plaintiffs,

 v.                                                          Case No: 6:18-cv-1147-Orl-22DCI

 SOUTHSTAR CAPITAL GROUP I, LLC,
 COTTINGTON ROAD TIC, LLC, DURBAN
 ROAD TIC, LLC, COLLIS ROOFING, INC.,
 DAPAU ENTERPRISES, INC., FLORIDA
 CONSTRUCTION SERVICES, INC.,
 STRUCTURAL CONTRACTORS SOUTH, INC.,
 NAVIGATORS SPECIALTY INSURANCE
 COMPANY, GEMINI INSURANCE COMPANY
 and IRONSHORE SPECIALTY INSURANCE
 COMPANY,

                       Defendants.


                                     ORDER TO SHOW CAUSE

        On September 4, 2018, Plaintiff Urban Oaks Builders, LLC simultaneously filed a

 Suggestion of Bankruptcy (Doc. 46) and its Motion seeking a transfer of venue to the United States

 Bankruptcy Court for the Southern District of Texas where its Chapter 11 bankruptcy was filed on

 August 31, 2018 (Doc. 47). About three months prior, on June 7, 2018, Plaintiffs, the Hines

 Entities,1 filed a declaratory judgment action in state court seeking a ruling that three insurance


 1
   The Plaintiffs are related entities with overlapping or common ownership and management
 involving Jeffrey C. Hines and Gerald D. Hines; trusts of which they appear to be trustees or
 beneficiaries; and JCH Investment Inc., as best the Court can surmise from the various exhibits
 attached to the Notice of Removal. Because not all of the limited partners and limited liability
 company members are identified in any of the filings in this Court, as discussed infra, the Court
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 companies were obligated to provide a defense on their behalf against claims of defective

 construction in a lawsuit brought by the owner of a 306-unit apartment complex in Celebration,

 Florida. See Doc. 2. Following service of the state court complaint, on July 17, 2018, Defendant

 Gemini Insurance Company (Gemini Insurance) removed Plaintiffs’ declaratory judgment action

 to this Court alleging that complete diversity existed between the adverse parties (ignoring the

 citizenship allegations of Defendants that Gemini Insurance consider to be “nominal”

 defendants2).

         Federal courts have the “power to decide only certain type of cases.” See Morrison v.

 Allstate Indem. Co., 228 F.3d 1255, 1260-61 (11th Cir. 2000). Federal courts also have the

 obligation, in every case, to “zealously insure that jurisdiction exists.” See Smith v. GTE Corp.,

 236 F.3d 1292, 1299 (11th Cir. 2001). Thus, courts have an independent obligation to determine

 whether subject-matter jurisdiction exists, even when no party challenges it. Hertz Corp. v.

 Friend, 559 U.S. 77, 94 (2010) (Arbaugh v. Y & H Corp., 546 U.S. 500, 514 (2006)); Hernandez

 v. U.S. Atty. Gen., 513 F.3d 1336, 1339 (11th Cir. 2008) (noting a federal court is obligated “to

 inquire into subject matter jurisdiction sua sponte whenever it may be lacking”); cf. Fed. R. Civ.

 P. 12(h)(3) (“If the court determines at any time that it lacks subject-matter jurisdiction, the court

 must dismiss the action.”).

         Accordingly, before the Court can consider the Motion to Transfer Venue, the Court must

 be assured that federal subject matter jurisdiction on the basis of § 1332 diversity jurisdiction exists

 in this case, or the case must be remanded to the state court from which it was removed. See, e.g.,




 will refer to the entities collectively as the “Hines Entities,” except when discussing each specific
 entity’s citizenship.
 2
   Only Defendants Navigators Specialty Insurance Company and Ironshore Specialty Insurance
 Company filed a consent to the removal. Docs. 5; 6. Gemini Insurance contends that the
 remaining Defendants are “nominal” Defendants, which the Court addresses infra.
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 VT Halter Marine, Inc. v. Emas Chiyoda Subsea, Inc., 2017 WL 2058225, at *2 (S.D. Miss. May

 12, 2017) (although one of the parties had filed a suggestion of bankruptcy, raising sua sponte the

 court’s lack of subject-matter jurisdiction, dismissing the case because the parties were not

 diverse). “Complete diversity is an absolute requirement for a federal court to have jurisdiction

 under 28 U.S.C. § 1332.” Hedge Capital Inv. Ltd. v. Sustainable Growth Grp. Holdings LLC,

 593 F. App’x 937, 940 (11th Cir. 2014). For the reasons explained below, Gemini Insurance will

 be ordered to show cause why the case should not be remanded to the Ninth Judicial Circuit in and

 for Osceola County, Florida for a lack of subject matter jurisdiction.

 I.     Background

         On February 13, 2018, the owner of a large apartment complex filed the underlying

 lawsuit against the Hines Entities in the Circuit Court for Osceola County, Case No. 2018-CA-

 00415, alleging fraud, breach of contract, and negligence for alleged defects in the construction of

 the apartment balconies. On June 7, 2018, the Hines Entities filed suit in the Circuit Court for

 Osceola County, Case No. 2018-CA-01845, seeking a declaratory judgment that the three

 insurance companies from whom it had purchased commercial general liability and excess policies

 were obligated to provide coverage and a defense on their behalf against claims of defective

 construction brought by the apartment complex owner. Doc. 2.

        Thereafter, on July 17, 2018, Gemini Insurance removed this action to the Middle District

 of Florida pursuant to the removal statute, 28 U.S.C. § 1441, and on the basis of diversity

 jurisdiction under 28 U.S.C. § 1332. Doc. 1 at ¶ 28. In its notice of removal, Gemini Insurance

 asserted that the amount in controversy exceeds $75,000.00 (Id. at ¶ 28), which is not in dispute.

 Gemini Insurance also asserted that there is complete diversity between Defendants and Plaintiffs

 because all of the Plaintiffs are citizens of Texas (Doc. 1 at ¶ 47), and “[a]ll of the defendants in

 this action, putting aside whether they are nominally interested or not, are citizens of Arizona,


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 Connecticut, Delaware, Florida, and New York.” Doc. 1 at ¶ 48. However, Gemini Insurance

 has failed to properly plead the citizenship of several of the Plaintiffs and certain Defendants who

 are limited liability companies or limited partnerships and has inconsistently stated the citizenship

 of the Defendant Insurers.

 II.    Analysis

        A federal court has diversity jurisdiction over civil actions where there is complete

 diversity of citizenship among the opposing parties and the amount in controversy exceeds

 $75,000.00, exclusive of interest and costs. 28 U.S.C. § 1332(a). There is complete diversity

 where “no plaintiff is a citizen of the same state as any defendant.” Travaglio v. Am. Express Co.,

 735 F.3d 1266, 1268 (11th Cir. 2013). A corporation is a citizen of both the state in which it is

 incorporated and the state in which the corporation’s principal place of business is located. 28

 U.S.C. § 1332(c)(1). However, an unincorporated business entity, such as a limited liability

 company, is a citizen of every state in which each of its individual members are citizens. See,

 e.g., Rolling Greens MHP, L.P. v. Comcast SCH Holdings LLC, 374 F.3d 1020, 1021-22 (11th

 Cir. 2004). Similarly, a limited partnership is deemed a citizen “of each state in which any of its

 partners, limited or general, are citizens.” Id. at 1021. Accordingly, to properly allege the

 citizenship of an LLC or a limited partnership, a party must identify all of the LLC’s members or

 all of the limited partnership’s partners and their citizenships. Carden v. Arkoma Assoc., 494 U.S.

 185, 195-96 (1990).

        Turning to the case before the Court, Gemini Insurance had the burden of pleading subject

 matter jurisdiction in the Notice of Removal at the time it removed the case to federal court on

 July 17, 2018.    Doc. 1.    “A party removing a case to federal court based on diversity of

 citizenship bears the burden of establishing the citizenship of the parties.” Rolling Greens, 374

 F.3d at 1022 (citing Williams v. Best Buy Co., Inc., 269 F.3d 1316, 1319 (11th Cir. 2001)).


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 Although Gemini Insurance represented in the Notice of Removal that there was “complete

 diversity of citizenship between all plaintiffs and all defendants” (Doc. 1 at ¶ 49), it has failed to

 properly allege the citizenship of several of the Plaintiff Hines Entities which are unincorporated

 entities, i.e., the limited liability companies and the limited partnerships, and has alleged

 citizenship of Defendants which is inconsistent with Plaintiffs’ assertions alleged in the Complaint

 or the state’s corporate records.

        A. All Parties

        As an initial matter, Gemini Insurance consistently errs in identifying a number of Plaintiffs

 and Defendants as Delaware or Florida “limited liability companies.” Doc. 1 at ¶¶ 31, 32, 33, 34,

 37, 38, 39. However, the state of organization of a limited liability company does not define the

 citizenship of a limited liability company; the citizenship of the LLC is that of each of its members.

 See Rolling Greens, 374 F.3d at 1021-22 (holding that unincorporated business entities, including

 limited liability companies and limited partnerships, are citizens of every state in which each of

 their individual members or partners are citizens).

        B. Plaintiffs

        1. Urban Oaks Builders, LLC

        In the Notice of Removal, Gemini Insurance alleged that Urban Oaks Builders, LLC has

 as its “sole member” POC Holdings 2, Inc., which is a “citizen” of Texas, but failed to state POC

 Holdings 2, Inc.’s state of incorporation or principal place of business. Doc. 1 at ¶ 30. Gemini

 Insurance cited a July 2014 memorandum it has appended as an exhibit; however, it does not state

 that POC Holdings 2, Inc. is the “sole member” of the LLC, the memorandum says it is the

 “managing member.” Doc. 1-6. Moreover, the Certificate of Interested Parties filed by Urban

 Oaks Builders LLC, says that its members are “POC Holdings 1, Inc. and POC Holdings 2, Inc.”

 Doc. 26 at 3 n.7.      In light of the contradictory information between Gemini Insurance’s


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 representations in its Notice of Removal and the information on Urban Oaks Builders LLC’s

 Certificate of Interested Parties; the lack of information about POC Holdings 2, Inc.’s state of

 incorporation or principal place of business; and the omission of any information about POC

 Holdings 1, Inc., the Court finds that Urban Oaks Builders, LLC’s citizenship has not been

 sufficiently established.

         2. Other Hines Entities

         In the Notice of Removal, Gemini Insurance alleged that 1662 Multifamily, LLC, has as

 its “sole and managing member” Hines 1662 Multifamily, LLC (Doc. 1 at ¶ 31); and that Hines

 1662 Multifamily, LLC has Hines Investments Management Holdings Limited Partnership as its

 “sole and managing member” (Id. at ¶ 32). Thus, both 1662 Multifamily, LLC and Hines 1662

 Multifamily, LLC would have the citizenship of Hines Investments Management Holdings

 Limited Partnership.

         Gemini Insurance represented that Hines Investments Management Holdings Limited

 Partnership is a Texas limited partnership. Id. at ¶ 33. However, Gemini Insurance failed to

 identify all of the partners of Hines Investments Management Holdings Limited Partnership,

 identifying only HIMH GP, LLC as the “sole general partner,” even though the citizenship of a

 limited partnership is determined by the citizenship of all of the partners, no matter whether they

 are general or limited partners. See Carden, 494 U.S. at 195-96 (holding that a limited partnership

 is a citizen of every state in which any of its general or limited partners is a citizen).

         Gemini Insurance identified a different but similarly named entity, Hines Real Estate

 Holdings Limited Partnership, as the “sole member” of HIMH GP, LLC but (again) failed to

 identify all of the members of the Hines Real Estate Holdings Limited Partnership, which is the

 determining factor for HIMH GP, LLC’s citizenship. Id. at ¶ 34. Instead, Gemini Insurance

 represented that Hines Real Estate Holdings Limited Partnership’s “sole general partner” is JCH


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 Investments, Inc. Doc. 1 at ¶ 35. And although Gemini Insurance represented that “JCH

 Investments, Inc. was at all times, including at the time this action was commenced, and this notice

 filed, a citizen of the state of Texas,” Gemini Insurance cited to “Exhibit E” (Doc. 1-6) which is a

 four-year-old memorandum dated July 28, 2014 regarding the “Guaranteed Maximum Price

 Agreement” between two of the Hines Entities; there is no additional exhibit demonstrating that

 the information—albeit incomplete as it is—still applied four years later on July 17, 2018 at the

 time Gemini Insurance chose to remove the case. Because Gemini Insurance omitted the identity

 of the more than one set of limited partners, the citizenships of several of the interrelated Hines

 Entities “at the time of removal” have not been sufficiently established.

        3. Hines Interests Limited Partnership

        In the Notice of Removal, Gemini Insurance alleged that Hines Interests Limited

 Partnership is a “Texas limited partnership,” and the unnamed “sole partner” of the limited

 partnership is “a citizen of Texas.” Doc. 1 at ¶ 29. It is not logical that a limited partnership

 would be comprised of a “sole partner” because it must have two entities/individuals or it is not a

 “partnership,” and, without a “limited partner” there is no “limited partnership,” only a general

 partnership. In any event, Gemini Insurance relied on documents filed in a 2014 case in the

 Northern District of Georgia (Doc. 1-4 at 7), which appears to contradict Gemini Insurance’s claim

 that Hines Interests Limited Partnership has a “sole partner” since the document lists as of October

 20, 2011 (the date on the document) both a limited partner, Hines Real Estate Holdings Limited

 Partnership, and a general partner, Hines Holdings, Inc. (Id.). Each of these partnerships in turn

 is comprised of additional partners who are not parties to the case3 and are omitted from discussion

 in the Notice of Removal. In light of this direct contradiction between Gemini Insurance’s


 3
   For example, the documents list additional partners named Hines Holdings, Inc. 2007
 Management Trust and Jeffrey C. Hines 2003 Management Trust, Gerald D. Hines Trustee. Doc.
 1-4 at 7.
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 representations in the Notice of Removal, the (outdated) 2014 document from an unrelated case,

 and the omission of the citizenship of other entities listed, the citizenship of Hines Interests Limited

 Partnership “at the time of removal” has not been sufficiently established.

        C. Defendant Insurers

        The Notice of Removal contains several inconsistencies and inaccuracies in the allegations

 about the Defendant insurance companies, most likely because Gemini Insurance has chosen to

 rely on printouts from the website of the Florida Office of Insurance Regulation (“FOIR”) even

 though these printouts do not indicate the “state of incorporation” or the “principal place of

 business” of the insurers, only the “home” of the company, which is not defined on the printout.

 A simple check of the relevant state’s corporate records website (such as the Secretary of State or

 comptroller) would have conclusively indicated the state of incorporation for the three insurers.

        Gemini Insurance asserted that it is a Delaware corporation with its principal place of

 business in Connecticut (Id. at ¶ 44); however, the printout Gemini Insurance submitted in support,

 allegedly from the FOIR website (Doc. 1-11), shows Gemini Insurance’s “home” as Delaware,

 and it omits any mention of Connecticut; the only other addresses listed for “administrative,

 mailing, location of records and policy holder relations” are in Arizona, which is the state Plaintiffs

 allege in the Complaint as Gemini Insurance’s state of incorporation.. Doc. 2 at ¶ 17.

        Gemini Insurance also alleged that Defendant Ironshore Specialty Insurance Company is

 an Arizona corporation with its principal place of business in New York. Doc. 1 at ¶ 45.

 However, Plaintiffs alleged that Ironshore Specialty Insurance Company is incorporated in

 Delaware. Doc. 2 at ¶ 16. Gemini Insurance pointed to a printout from the same FOIR website

 (Doc. 1-12) which shows Ironshore Specialty Insurance Company’s “home” is Arizona, the

 “mailing” address is in New York, but records, administrative, and policy holder relations are

 located in Massachusetts. Id.


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        Gemini Insurance further alleged that Defendant Navigators Specialty Insurance Company

 is a corporation formed in New York, where it also has its principal place of business (Doc. 1 at ¶

 46) based on a printout from the FOIR website (Doc. 1-13). However, Plaintiffs alleged that

 Navigators Specialty Insurance Company is incorporated in Delaware. Doc. 2 at ¶ 18. The New

 York Secretary of State website4 indicates that “Navigators Specialty Insurance Company” is not

 registered in New York, which would appear to mean that it is not a New York corporation.

        D. Defendants alleged to be “nominal”

        Gemini Insurance contended that certain of the Defendants are “nominal Defendants,” but

 nonetheless sufficiently alleged that the construction subcontractors who are all corporations—

 Collis Roofing, Inc., Da Pau Enterprises, Inc., Florida Construction Services, Inc., and Structural

 Contractors Services, Inc.—are citizens of Florida. Doc. 2 at ¶¶ 40-43. However, the entities

 that own the apartment complex or serve as their management agent—Southstar Capital Group I,

 LLC, Cottington Road TIC, LLC, and Durban Road TIC, LLC—are limited liability companies,

 and Gemini Insurance failed to identify the members of these entities except to say “all of the

 members” of each LLC are citizens of Florida. See Doc. 2 at ¶¶ 37-39. Such a generalized

 allegation is considered to be inadequate for jurisdictional purposes. See, e.g., Alliant Tax Credit

 Fund XVI, Ltd. v. Thomasville Cmty. Housing, LLC, 713 F. App’x 821, 823 (11th Cir. 2017)

 (remanding to the district court with instructions to make specific findings as to “each of the

 parties’ citizenships,” including “the identity and citizenship, at every level, of the members of

 each of the four LLC parties” and “every partner in the two partnership parties”).

        However, the Court will assume arguendo for purposes of this Order to Show Cause that

 Gemini Insurance has properly alleged that the apartment owners and their agent are “Nominal



 4
  See www.dos.ny.gov/corps/bus_entity_search.html (visited on September 6, 2018; searched for
 “Navigators Specialty Insurance” and “Navigators Insurance”).
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 Defendants” and will not review its alleged citizenship at this juncture. See Amerisure Ins. Co. v.

 Orange & Blue Const., Inc., 545 F. App’x 851 (11th Cir. 2013) (holding that parties did not need

 to plead the citizenship of the plaintiff in the underlying litigation arising from a laborer’s death in

 order to satisfy the requirements of the court’s diversity jurisdiction in declaratory judgment action

 brought by contractor’s insurer over its duty to defend, because the plaintiff was merely a “nominal

 party” that did not have any real stake or control over the litigation) (citing Navarro Sav. Ass’n v.

 Lee, 446 U.S. 458, 461 (1980) (“[A] federal court must disregard nominal or formal parties and

 rest jurisdiction only upon the citizenships of real parties to the controversy.”)).

        E. Responses to the Court’s Interested Persons Order (Doc. 18)

        Although Plaintiffs, the Hines Entities, do not bear the burden of establishing subject matter

 diversity jurisdiction because Gemini Insurance chose to remove the case, the Court notes that

 those Plaintiffs, who are limited liability companies and limited partnerships, have failed to

 adequately respond the Court’s Interested Persons Order. The Order requires parties, among

 other things, to identify “all members of any LLC including their citizenship” and “all other

 identifiable legal entities related to any party in the case,” which would apply to the limited

 partnerships.   Doc. 18 at 2, 7.      Proper compliance with the Court’s orders is particularly

 important in this case where so many of the parties are limited liability companies and limited

 partnerships.

 III.   Conclusion

        Based on the foregoing, it is ORDERED that:

                 1. On or before September 19, 2018, Plaintiffs shall file amended certificates of

                    interested persons;

                 2. On or before September 26, 2018, Gemini Insurance shall show cause in

                    writing why the case should not be remanded for lack of subject matter


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                   jurisdiction. The response shall address the issues identified in this Order and

                   must be supported by evidence, which should be in the form of an affidavit or

                   declaration under penalty of perjury. See, e.g., Travaglio, 735 F.3d at 1270

                   (allowing defective allegations regarding citizenship to be cured through record

                   evidence); and

               3. Failure to timely respond to this order or to properly allege federal

                   diversity jurisdiction may result in this case being remanding to state

                   court.

        DONE and ORDERED in Orlando, Florida on September 12, 2018.



         




 Copies furnished to:

 Counsel of Record




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